Case 2:12-md-02327 Document 662-2 Filed 07/10/13 Page 1 of 3 PageID #: 7853




                            EXHIBIT 2
 Case 2:12-md-02327 Document 662-2 Filed 07/10/13 Page 2 of 3 PageID #: 7854




                                                  June 13, 2013



VIA E-MAIL
Bryan Aylstock, Esq.
Aylstock, Witkin, Kreis & Overholtz
17 E. Main Street, Suite 200 (32502)
Post Office Box 12630
Pensacola, Florida 32591

       RE:       In re: Ethicon, Inc. Pelvic Repair System, Products Liability Litigation,
                 MDL No. 2327

Dear Bryan:

       I am writing concerning your request for a hearing date on Plaintiffs’ pending motion to
compel. I have a proposal that I hope will resolve the issues between the parties and prevent the
Court from having to be further burdened with these issues.

        First, I understand and appreciate the issues you raise with respect to the objections raised
in response to the requests for production of documents. While we stand by our prior responses,
in the spirit of compromise, we have gone back and taken another look at them and we have
significantly reduced our objections, particularly those that you term as “boilerplate.” We will
be sending you those supplemental responses tomorrow.

       I hope that these substantially revised responses address your concerns. If you have issues
with the objections that we do continue to assert (and there are not many), we would be glad to
go through them one by one with you to hopefully resolve any remaining differences.

        I have also reviewed the specific items that you raise in your rebuttal, including the issues
relating to IFUs, patient brochures, professional education materials, SOPs and registries. I
know we have written you on each of these issues and I assure you that we have expended
tremendous resources to provide you with the materials that we have. Nevertheless, we will be
glad to sit down with you to try to resolve these issues.

        I also understand that you still have questions about these areas. Rather than continue to
exchange e-mails and letters, I propose that each side nominate several people to sit down in
person and specifically discuss the issues until we reach a resolution, or we have our remaining
differences crystalized. In some cases, I also think that we need to have your technical people
talk with our technical people, particularly in the area of SOPs as we suggested in our May 22,
2013 letter. Please let me know your team’s availability and we will get this done.


                                               CHRISTY D. JONES                  Suite 1400
            Post Office Box 6010                                                 1020 Highland Colony Parkway
                                                   601.985.4523
     Ridgeland, MS 39158-6010                                                    Ridgeland, MS 39157
                                         christy.jones@butlersnow.com
                               T 601.948.5711 • F 601-985-4500 • www.butlersnow.com
                            BUTLER, SNOW, O'MARA, STEVENS & CANNADA, PLLC
 Case 2:12-md-02327 Document 662-2 Filed 07/10/13 Page 3 of 3 PageID #: 7855

Bryan Aylstock, Esq.
June 13, 2013
Page 2


        I hope that this proposal will obviate the need for a hearing at this point. If there are still
issues that we cannot resolve as a result of this process, then we could reach out to the Court at
that point.

                                       Very truly yours,

                                       BUTLER, SNOW, O’MARA, STEVENS & CANNADA, PLLC



                                       Christy D. Jones

CDJ:fsw

cc:     Tom P. Cartmell
        D. Renee Baggett

ButlerSnow 16708973v1
